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                                      August 14, 2020

VIA ECF

The Honorable Zahid N. Quraishi
U.S. District Court for the District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

       Re:    UMG Records, Inc., et al. vs. RCN Telecom Services, LLC, et al.
              Civil Action No. 19-17272-MAS-ZNQ

Dear Judge Quraishi:

       This firm represents Defendants in the above-referenced matter. On July 31,
2020, Plaintiffs filed a letter brief with the Court regarding several disputes between the
parties concerning RCN’s objections and responses to Plaintiffs’ Requests for
Production. The Court granted Defendants a deadline of August 14, 2020 to file their
response.

       Defendants respectfully submit this response and request oral argument.

  I.   Pre-2016 Discovery.

       For the same reasons stated in Defendants’ letter brief regarding pre-2016
information sought through Plaintiffs’ interrogatories (ECF No. 75), Defendants also
disagree that this information is discoverable here with respect to Plaintiffs’ requests for
production. The Court decided in its August 5, 2020 Order (the “Order”) that pre-2016
information is relevant and may be actionable. ECF No. 83. Defendants respectfully
disagree and urge the Court to review this issue in light of the Supreme Court’s recent
holding in Petrella.

       Both the Court and Plaintiffs cite the Third Circuit Graham case which was
decided over a decade ago, prior to the holding in Petrella. The Graham case states that
the “discovery rule” applies to copyright cases. However, Plaintiffs misrepresent how the
discovery rule applies to this dispute. The discovery rule is only relevant to determining
whether an action is timely filed. See William A. Graham Co. v. Haughey, 568 F.3d 425,
428 (3d Cir. 2009) (under the discovery rule, the “cause of action for each act of
infringement did not accrue until [plaintiff] discovered, or with reasonable diligence
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should have discovered, the injury underlying its claim”).

        Contrary to Plaintiffs’ assertions, the discovery rule does not in any way impact
the length of the damages period in this case. As explained in Petrella, a copyright
plaintiff is only ever entitled to recover damages for the three years preceding the filing
of their suit—the discovery rule does not provide a mechanism for extending that period.
See Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 671-672 (2014) (17 U.S.C. §
507(b) allows plaintiffs “to gain retrospective relief running only three years back from
the date the complaint was filed”).

       The Court’s Order did not address Petrella, and Defendants respectfully submit
that based on Petrella, Plaintiffs are only entitled to seek damages for alleged copyright
infringement that occurred in the three years preceding the filing of their complaint. Id.
at 671-672.

       Other Circuit Courts addressing Petrella have limited plaintiffs to the three-year
damages recovery period—even in situations where the discovery rule applies. See, e.g.,
Sohm v. Scholastic Inc., 959 F.3d 39, 51–52 (2d Cir. 2020) (irrespective of when a
copyright infringement claim accrues—for example due to the discovery rule—damages
are only recoverable for infringements that occur within three years of the filing of the
complaint). In Scholastic, the court reviewed both the discovery rule and Petrella and
held that they “must apply the discovery rule to determine when a copyright infringement
claim accrues, but a three-year lookback period from the time the suit is filed to
determine the extent of the relief available.” Id. at 52. Many district courts have come to
similar conclusions. See, e.g., Park v. Skidmore, Owings & Merrill LLP, No. 1:17-cv-
4473, 2019 WL 9228987, at *3 (S.D.N.Y. Sept. 30, 2019) (“[T]he Copyright Act
provides for a three-year lookback period – a plaintiff can bring a suit for any infringing
actions in the three years before the filing date, but cannot recover damages for
infringements occurring more than three years before filing.”); Wu v. John Wiley & Sons,
Inc., No. 1:14-cv-6746, 2015 WL 5254885, at *7 (S.D.N.Y. Sept. 10, 2015)
(“Following Petrella, Wu can recover damages only for any Wiley infringing acts that
occurred [not more than three years prior to filing the action].”); Fischer v. Forrest, No.
1:14-cv-1304, 2017 WL 128705, at *7 (S.D.N.Y. Jan. 13, 2017), report and
recommendation adopted, 2017 WL 1063464 (S.D.N.Y. Mar. 21, 2017).

       Based on the foregoing, Defendants urge this Court to follow Petrella and deny
Plaintiffs’ request to compel the production of materials that are ultimately irrelevant to
any issue in this case. To the extent the Court is persuaded that the evidence Plaintiffs
seek is nevertheless relevant to RCN’s potential safe harbor defense; Defendants recently
informed Plaintiffs that they do not intend to assert any DMCA safe harbor defense for
the period before June 2016. Defendants’ decision not to assert a safe harbor prior to
2016 stands as further evidence that the information sought by Plaintiffs is irrelevant to
any issue in this case.

       Defendants have already agreed to produce RCN’s pre-June 2016 copyright
infringement and DMCA policies and have already produced all of the emails that RCN
received from Rightscorp regarding alleged copyright infringement, which date back to
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2011. Defendants have also produced documents sufficient to identify all of the
customers it terminated under RCN’s DMCA policy. This information more than
satisfies Plaintiffs’ needs and no further pre-2016 discovery should permitted.

II.   Plaintiffs Are Not Entitled to Irrelevant Copyright Infringement Allegations
      from Third Parties.

       Plaintiffs’ allegations of infringement against RCN are based exclusively on a
specific set of copyrights and a specific set of notices transmitted to RCN by Rightscorp.
Despite this, Plaintiffs seek the production of documents regarding alleged infringement
of copyrights not asserted in this case and of notices generated and transmitted to RCN
by disinterested third parties.

       The only possible relevance of these materials pertains to RCN’s safe harbor
defense, which RCN intends to assert if this case proceeds. When and if that defense is
advanced, RCN intends to assert that its safe harbor defense first accrued in June of 2016.
For this reason, RCN requests that the Court enter an Order requiring that RCN only
produce materials regarding third-party allegations of copyright infringement from June
2016 forward.

        Plaintiffs assert in their letter brief that RCN’s knowledge of copyright
infringement of non-asserted copyrights based on notices transmitted by disinterested
third parties is somehow relevant to the knowledge and willful blindness elements of
Plaintiffs’ case. That is incorrect. The knowledge and willful blindness issues that will
be addressed in this case must be resolved based exclusively on the specific instances of
copyright infringement asserted by Plaintiffs and on the notices of infringement
pertaining to those copyrights—namely the Rightscorp notices Plaintiffs hold out as their
exclusive evidence of infringement. RCN’s knowledge of other alleged infringement—
premised on other copyrights and allegedly supported by the receipt of notices from
third-party monitoring companies other than Rightscorp—has no relevance to the issues
presented in this case. See BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881
F.3d 293, 312 (4th Cir. 2018) (“contributory infringement requires knowledge of, or
willful blindness to, specific instances of infringement” therefore, “the court’s willful
blindness instruction should similarly require a conclusion that Cox consciously avoided
learning about specific instances of infringement, not merely that Cox avoided confirming
the fact that Cox users were infringing BMG’s copyrights in general”) (emphasis added);
see also Sony Music Entm’t v. Cox Commc’ns, Inc., No. 1:18-cv-950, 2019 WL 9088258,
at *9 (E.D. Va. Nov. 15, 2019) (“In essence, ‘generalized knowledge’ of infringement
somewhere on an ISP’s network is insufficient to establish contributory infringement
liability, and ‘the proper standard requires a defendant to have specific enough
knowledge of infringement that the defendant could do something about it.’”) (citing
BMG Rights Mgmt., 881 F.3d at 311-312).

      For the foregoing reasons, RCN respectfully requests that the Court limit its
production of third-party infringement materials to the period from June 2016 forward.
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III.   Plaintiffs Are Not Entitled to Irrelevant Non-DMCA Related Customer
       Terminations.

       Documents concerning suspensions or terminations of customer accounts for
reasons unrelated to copyright infringement are simply not relevant to any issue in this
case. The fact that such evidence was discovered in cases, and admitted at trials, in
which RCN did not participate should not be determinative of this issue. RCN
respectfully requests that this Court meaningfully and independently assess whether
evidence that RCN terminated customers for non-payment has any bearing on the
copyright infringement issues to be decided in this case. The answer to that question
must be “no.”

       The only possible relevance such evidence might have had to the case is RCN’s
ability to terminate subscribers. But RCN does not dispute that it can terminate
subscribers and is willing to stipulate to that fact. With that one potential shred of
relevance addressed, there is simply no reason to allow Plaintiffs to take extensive
discovery of RCN terminations conducted for reasons wholly unrelated to copyright
infringement.

       Plaintiffs suggest in their letter brief that RCN will follow Grande’s lead by
arguing that terminations are a drastic measure that should be used “sparingly.” That is a
gross mischaracterization of the argument Grande presented in its separate litigation. To
be clear, the issue is not one of numerosity—as Plaintiffs wrongly suggest—but rather
one of evidentiary support and verifiability. RCN intends to argue that it is not
appropriate to terminate a subscriber based exclusively on the receipt of an allegation
transmitted over the internet, but rather, only after receiving conclusive evidence of
infringement that is capable of independent validation. This issue will be resolved
through an analysis of the legitimacy of the Rightscorp system and notices, not based on
the number of subscribers RCN terminated for non-payment.

        Plaintiffs’ comparison of action taken when Defendants’ property is “being stolen”
versus Plaintiffs’ property “being stolen” is similarly inapposite. When RCN terminates
a customer for non-payment, RCN knows with 100% certainty that the customer has not
paid their bill. By contrast, RCN has no way of knowing or independently verifying that
a customer accused of copyright infringement committed that infringement. Of course,
Plaintiffs will attempt to prove at trial that RCN did have knowledge of actual instances
of infringement, but that factual question will be resolved based on evidence of alleged
copyright infringement—not based on RCN’s decision to terminate subscribers for failing
to pay their bill.

       Simply put, the number of subscribers that RCN terminated for non-payment is
not relevant to any issue properly before the Court in this case and the Court should not
require RCN to produce such clearly irrelevant materials.1


1As a point of clarification, Plaintiffs include RFP No. 50 in their letter brief under this topic (fn.
5); however, Defendants did not refuse to produce this information. Defendants agreed to
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IV.    Defendants Have Not Refused to Produce Documents Concerning Patriot.

       Plaintiffs’ assertions with respect to Patriot’s participation in the discovery process
are baseless. Indeed, the entirety of Plaintiffs’ Section 4 comprises four sentences of
attorney argument based on false information (i.e., that Patriot has refused to “participate
in discovery”). Defendants have not refused to produce any documents concerning
Patriot. In fact, in response to the vast majority of Plaintiffs’ document requests,
Defendants indicated that they would produce all relevant documents that exist and are in
either RCN’s or Patriot’s possession, custody or control. See, e.g., ECF No. 80-1 (Defs.
Resp. to RFPs) at RFP Nos. 1, 2, 3, 4, 5, 6, 7, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
21, 22, 25, 26, 28, 29, 30, 31, 33, 36, 37, 43, 50, 52, 53, 54, 55, 58, 61, 62, 63, 64, 65, 66,
69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 85, 92, 93, 98, 99, 100, 101. Even for RFP Nos.
94-96, which Plaintiffs cite in footnote 6, Defendants confirmed in email correspondence
that they do not intend to withhold any responsive documents that may exist. See Ex. 1
(July 23, 2020 email correspondence).

       In sum, there is no basis for Plaintiffs to assert that Patriot is refusing to cooperate
in discovery. For this reason, Court intervention is simply not necessary.

V.     Plaintiffs Are Not Entitled to Confidential Corporate Documents Relating to
       Irrelevant Parties.

       Plaintiffs’ accusation that Defendants are withholding relevant documents relating
to the identified categories of requests is simply not true. In fact, for several of these
requests, Defendants have willingly agreed to produce any responsive documents, should
they exist.

       As evidenced from email correspondence between the parties, Defendants clearly
explained to Plaintiffs that, with respect to RFP Nos. 86 and 87, a search for documents
had been conducted and no responsive documents were identified. Defendants agreed to
supplement their responses to state as much. Counsel for Defendants also stated that
Defendants are not currently aware of any emails responsive to Plaintiffs’ requests. See
Ex. 1 at section 6 (July 23, 2020 email correspondence).

       With respect to RFP Nos. 88-91, Defendants stand on their objections, as each of
these requests seek documents that are highly confidential and not relevant to any issue in
this case. RFP Nos. 88-89 seek contracts and other documents sufficient to show the
transaction by which RCN was purchased by ABRY Partners, and later TPG, including
purchase prices and other consideration paid. This information is highly confidential and
has absolutely no bearing on any issue in this case. Indeed, Plaintiffs cannot articulate a
reason why these documents are relevant, other than to satisfy some unfounded

produce responsive, non-privileged documents and also agreed to supplement their RFP response
if any documents are being withheld pursuant to any objections. Further, RFP Nos. 56-57 are
not related to this same issue of non-copyright terminations and should not be included in any
Order from the Court. Moreover, for these two RFPs, Defendants offered to meet and confer
about narrowing or clarifying the scope of those requests, so Defendants do not believe Court
intervention is required.
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“suspicion” they have based on a gross mischaracterization of what occurred in the
Grande case.

        RFP Nos. 90-91 seek “any valuations of RCN and Patriot.” Despite Defendants’
request to narrow these requests, Plaintiffs have flatly refused to clarify their meaning of
“valuation,” or to apply any temporal boundaries to their request. In any event, this
information is highly confidential and has no bearing on any issue in this case. In their
letter brief, Plaintiffs were unable to articulate a cogent reason why this information is
relevant to this case. Additionally, RCN has agreed to supplement Interrogatory No. 12
to state the purchase price TPG paid to acquire RCN. This information should be more
than sufficient and moots Plaintiffs’ rationale for seeking production of highly
confidential documents.2

                                            Conclusion

       Defendants respectfully submit that Plaintiffs’ requests for relief should be denied
without further proceedings. In the alternative, Defendants request that the Court order
Plaintiffs to seek relief by formal motion prior to compelling any additional discovery.

       Counsel for Defendants are available for a teleconference or videoconference on
these matters at the Court’s convenience.



                                               Respectfully Submitted,

                                               /s/ Edward F. Behm, Jr.

                                               Edward F. Behm, Jr.


CC:    All counsel of record via ECF




2 As a point of clarification, Plaintiffs include RFP No. 92 in their letter brief under this topic
(fn. 7); however, Defendants did not refuse to produce this information. In email
correspondence between the parties, counsel for Defendants confirmed that Defendants will
produce any responsive documents that exist. See Ex. 1 at section 6.
